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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                     AT PADUCAH
                              CIVIL ACTION NO. 5:14CV-78-R

MELISSA RHEA                                                                           PLAINTIFF

v.

ADVANCED PAIN CARE CLINIC                                                            DEFENDANT


                                               ORDER

         For the reasons set forth in the Memorandum Opinion entered this date, and being

otherwise sufficiently advised, IT IS ORDERED that this action is DISMISSED pursuant to

Federal Rule of Civil Procedure 12(h)(3) for lack of subject-matter jurisdiction.

         There being no just reason for delay in its entry, this is a final Order.

         All pending motions are DENIED as moot.

         The Court further certifies that an appeal of this action would not be taken in good faith.

See 28 U.S.C. § 1915(a)(3).

Date:     May 2, 2014




cc:     Plaintiff, pro se
4413.010
